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Magistrate Judge Jeffrey Cummings

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DELIA ULLOA-JIMENEZ
OFFICIAL SEAL —

   

 

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Notary Public - State of Illinois

 

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DELIA ULLOA-JIMENEZ
OFFICIAL SEAL
Notary Public -State-of Illinois
My Commission Expires May 04, 2024

       

 

 
